Case 3:16-cv-05738-BHS Document 158 Filed 08/29/19 Page 1 of 16

Rabert E. Johnsen, #126696
Coyote Ridge Correctiion Center
1301 N. Ephrete Ave,

P.O. Sox 769

Hornell, WA 99326

DISTRICT JUDGE BENJAMIN H. SETTLE
MAGISTRATE JUDGE THERESA L.. FRICKE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

ROBERT EARLE JOHNSON, NO, C16-05738 BHS-TLF
Plaintiff,
PLAINTIFF'S MOTION FOR JUDTCTAL
RELIEF FOR BREACH OF SETTLEMENT
AGREEMENT AND SANCTIONS

RICHARD MORGAN, et al.,
Defendants,

 

 

I. IDENTITY OF MOVING PARTY

Plaintiff, Robert £. Johnson, pro sé, reanactfully asks this

Honorable Court for relief designated in Part IT,
If. STATEMENT OF RELIEF. SOUGHT

1. Plaintiff ('Me. Johnaent) respectfully requasts the Court to
terminate the Defendants! mations: STIPULATION AND ORDER FOR DISMISSAL"
Dkt. #157, and "RELEASE AND SETTLEMENT AGREEMENT! Exhibit #1 £2 Dkt,
#157,

&. tn the alternative, Mr. Johneon requests the Court to terminate
the settlement agreement if Defendants fail to deposit the agreed Ten
Thousand Dollars ($19,000.00) into his Trust Recount with the additional
$250.00 Sanctions under the Court's inherent power for each day
Defendants exceaderd the 30 day agreement to pay Mr. Johnsen within 30
days ef July 18, 2019. The $250.00 is senctions on the basis that
Defendants breach af settlement agreement made on duly 18, 2019,

3. If Defendants fail to comply with Mr, Qohnsen's request eet
forth in paragraph #2 the Court Shell issue en order finding the
Stipulation and Urder For Dismissal and Release and Settlemant Aqreemant

 

 

 
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void and relnetate its Order Adopting the Report and Recommendetions.
Dkt. #154, It is further requested that the Court order the Defencants
ta pay the filing feas of this Case, Number 3:16-cv-O05738-BHS-TLF, It is
also requestad that the Court allow Mr. Johnson 10 days to file his
Notice of Appeal on his medical issues after restating ite Order Dkt.
#154,

fT. FACTS RELEVANT TO MOTION

On July 18, 2019, Thureday morning et 10:00 a.m., Assistant
Attorney General Jehn ©, Dittman called Mr. Johnson's counselor, Mr.
Westphal, for a conference to confer with Mr, Johnson to prepare a joint
status report and « oretrial schedule.

Me. Dittman immediately wanted to talk negotiating @ settlement
rather then a status report. He rejected the $20,000.00 Mr. Johnson
affered om July 5, 2019. Exhibit #2, Sut offered package ceal of
$10,000.00 if Mx. Johnson dose not appeal the tuo issues which the Court
had already granted Defendants summary judgment.

In gosd faith Mr. Johnson aceepted the $10,000.00 offer with the
stipulations of being paid the $10,000.00 within 30 days of tha July 16,
219, agreement. Mr, Dittman agreed. Mr. Johnson's counselor witnessed
the negotiation.

Mr, Dittman promised Me. Johnaon that he would expedite the
prececdure to pay him within the 30 days of the agreement. Mr. Johnson
elaarly stated that it is a deal if he will be paid in 30 cays, They
agraed.

Alsa on July 18, 2019, Thursday afternoon, at 2:30 p.m, Mr,
Johnaern's counselor called him to this offices and presented him with tue
documenta: "Release AND Settlement Agreement", and "Stipulation AND
Order For Dismissal" Dkt. #187. Which Mr. Dittman immediately fax far
Mr, Johnson's signature after their oral agreement.

Six day later, on July 24, 2019, vcather than submitting the Court
with the "Stipulation and Order for Dismissal, Mr. Dittmen filed a
notice that the stipulation order for dismissal would be filed, Dkt.
#155.

Three weaeke after Mr. Dittman filed the notice, on August 14, 2015,
he filed the "Stipulation and Order For Dismissal" Dkt. #156, Also on
August 14, 2019, the Honorable Jurcgqe Benjamin H. Settle signed the order

for diemisaal 15 days ago. 2
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TV. LEGAL ARGUMENT

As a pro s@ litigant, Mr. Johnson was tricked inte accepting and
signing a settlement agreement contract. Defendants entered into an oral
binding and enforceable contract with Me, Johnsen to pay $40,000.00
within 40 days af their oral agreement and to expedite the payment, The
Defendants have intentionally — ane deliberately delayed paying Mr.
Johnean within the agreed 30 days. The Defendants have breached this
settlement agreament as a matter of law by falling to aatisfy their
abligationa and oral agreament to deoosit $10,000.00 inte Mr. Johnson's
trust secount by August 18, 2019,

The agreement wae reached between Me. Dittman and Mr. Jehnson, but
tha written agreement did not attempt to list avery term of the their
oral agreament. Declaration of Robert £. Johnsen. Exhibit #3, Mr,
Dittman did nat aven attempted to submit the "Stipulation and Order For
Dismissal" in a timely matter sa the Court could take action to promote
Finality so Mr, dJohnaon could bs pale within 30 days. Naw that the Court
has approved the order, Defendants refuse ta pay Mr. Jahnson even after
the. 30) daya have long passed,

Wher parties intended into an agreemant it is binding, and the fact
thet a more formal agreement must be prepared and executed does not
alter the validity of the the ors] agreement. Therefore, an oral
settlement agreament is a binding agreement. Dol v. Halekulani Coro.,
276 F.3d 1131, 1136 (Sth Cir, 2002). As the Ninth Circuit explained: An
agreement dogs not have to be in uriting to be binding. An oral
agreement da binding. Id, 279 F.3d at 1136. Thies Court should compel
Defendants to pay Me. Johneon the $10,000.00, and impose senctions of

sanctions will continue until the full amourt is said. The settlement
agreamant is @ contract and therefore, ie evaluated under Washington Law
governing contract interpretetion. Condon v. Condan, 177 tin.2cd 156
(2012).
V. SANCTIONS

The Sanction is pertaining to Defendante in a lawsuit brought by
Me, dobnson and an oral settlement agreement reached by Mr. Dittman to
pay $10,000.09 to Mr. Johnson within 30 days of the oral agreement. The
Defendants entered the agreement in bad faith, or intencdec to ignore Mr.

wn
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Johnson's etipulations, and to cause Mr. Johnsen unnecessary litigation
by purpasefully not submitting the "Stipulation And Order Far Dismissal"
until August 14, 2019, eo that Me, Johnson would not be paid within the
30 days of the settlement agreement. Defendants would have Me. Johnson
waiting far months if not years te be paid the #10,000.00, of to pay him
at all hacause of Mr. Jehnsen's pro se status and his limitations to
compel,

Evidence Relied Upon.

This Court has had to compel Me. Dittman several times to aroduce
discovary and documents he claimed did not exist. This motion is
supported by Declaration of Robert E. Johnson, copies of the cocumente
sant ta Mr. Johnson the same day of the oral settlement agreement, Mr.
Jahngon's counselor, ‘the refusal of Mr, Dittman to timely and properly
submit the Stipulation ard Order For Dismissal" sa that Mr. Johnson
would be paid the settlement within the agreed 30 days,

ARGUMENT

Defendants Willful Gonduet Warrant Senctions,

This Court may order sanctions against a party for breach of
eontract for failure ta fulfill an oral settlement agreement under Rule

“11. Firat, there were the circumstances of the excessive force discovery
issues where defendants fabricated, destroyed evidence, attempted to
mislead this Court, and now here are a breach of settlement agreement.
The Defendants! conduct is egregious and warrant serious sanctions
benause Defendantsa' cantinue to take unfair advantage of a pro se
litigant and enterad into an agreement in bac faith as the losing party
in aumary judgment. The Defendants! conduct constitute willfulness or
bad faith in failing to file the stiqulation order for dismissal as soon
‘ar a6 reasonably as it was returned to Mr, Dittman with Mr. Johnson's
signature on July 18, 2079.

Here, there is substantial evidence of willfulness or bad faith and
taking unfair advantage of Mr. Johnsen, the Court should award Mr.
Jahnseri in amount of $250.00 per day for avery day that exceeds Auquet
18, 2019, When a party breachas an oral or written contrect of a
settlement agreement, sanctions are appropriate,

The Defendants had it solaly within their power to avoid the need
far this motion, They chose to intentionally not to paid Mr. Johnson the

alpen
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agreed $10,000.00 within 30 days. Short of tha Court sanetioning $250,00
per day for every day exceeds August 18, 2019, sanctions will have ne
meaningful deterrant effect on Mr. Dittman's gameemanship.
VI. CONCLUSION

Far the foregoing reasons and Defendants taking unfair advantage of
apro se litigant and breach of settlement QGreament, this Court shoulc
compal Defendants to pay the $10,000.00 coupled with sanctioning
Defendants $250.00 for evary day exceeds August 18, 2019, or terminete
‘the Stipulation and Order For Dismissal anc reinstate its Order Adopting
the Report ane Recommendations, Defendants shall pay Tiling fees for
this current case, Exhibit #4, and allow Mr. Jchnecn to file a Notice of
Appeal.

RESPECTFULLY SUBMITTED nie DO day af August 2019,

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Coyote Ridge Correction Center
P.O, Box 769

Gornell, WA goR26

 
     
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EXHIBIT - 1

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DISTRICT JUDGE BENJAMIN H. SETTLE
‘ MAGISTRATE JUDGE THERESA L. FRICKE

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON
AT TACOMA

ROBERT EARLE JOHNSON,

Vv.

RICHARD MORGAN, et al.,

Plaintiff,

Defendants.

NO. 3:16-cv-05738-BHS-KLS

RELEASE AND SETTLEMENT
AGREEMENT

 

 

This is a Release and Settlement Agreement for the above-referenced action. Based upon

consideration and mutual promises, the Plaintiff, ROBERT EARLE JOHNSON, appearing pro

se, and the Defendants, by and through their attorneys, ROBERT W. FERGUSON, Attorney

General, and JOHN C. DITTMAN, Assistant Attorneys General, agree to the following:

I. In consideration of the following provisions of the Release and Settlement

Agreement, Plaintiff ROBERT EARLE JOHNSON, DOC #126696, his heirs, assigns or other

successors in interest, do hereby release and forever discharge the State of Washington, its

officers, agents, employees and agencies and departments for any and all existing claims,

RELEASE AND SETTLEMENT
AGREEMENT
NO. 3:16-cv-05738-BHS-ELS

| ATTORNEY GENERAL OF WASHINGTON
Corrections Division
1116 West Riverside Avenue, Suite 190
Spokane, WA 99201-1106
(509) 456-3123

 
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damages and causes of action of any nature arising out of the claims as described in Plaintiff's
Complaint in this action which are the source of his claims against the Defendants, including but

“not limited, to failure to provide him with an MRI on his knee, cataract treatment, and use of
force. This release is not intended to release any future potential claim arising out of any current
medical treatment.

2. This Agreement is the final, conclusive, and complete release of liability for all
known, as well as all unknown claims for recovery of any sort arising out of the claims set forth

in Plaintiff's Complaint.

3. This Agreement shall be effective when signed by all parties and/or their legal
representatives.

4, The Defendants shall pay to ROBERT EARLE JOHNSON, DOC #126696, the
sum of TEN THOUSAND DOLLARS and zero cents ($10,000.00) as full and complete
settlement of this matter. This settlement sum includes costs, penalties, and any attorney fees.
Payment shall be made to ROBERT EARLE JOHNSON, DOC #126696, and the net funds will
be deposited into the Plaintiff's inmate trust account and will be subject to appropriate decutions.

5. The parties agree this Release and Settlement Agreement is not an admission of
liability or that any claim or defense advanced by any party lacks merit.

6. This Agreement is the final written expression of all the terms of this Agreement
and is a complete and exclusive statement of these terms.

7. The parties agree that neither party is to be considered a prevailing party in this
action for any purpose, including, but not limited to, attorney fees.

8. The parties jointly agree that dismissal with prejudice of this action is an
appropriate resolution in consideration for payment of the sum of TEN THOUSAND DOLLARS
and zero cents ($10,000.00) and the other consideration provided for in this Agreement. The
-parties also agree to sign and file a stipulated motion for the entry of an order dismissing this

action with prejudice.

RELEASE AND SETTLEMENT 2 ATTORNEY GENERAL OF WASHINGTON

Corrections Division .
AGREEMENT 1116 West Riverside Avenue, Suite 100
NO, 3:16-cy-05738-BHS-KLS Spokane, WA, 99201-1106

{509} 456-3 123

 
 

 

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9, Plaintiff, ROBERT EARLE JOHNSON, DOC #126696, agrees and covenants
not to sue the State of Washington or its agencies, employees, and officials over the claims
concluded by this settlement agreement.

10. The undersigned parties declare that the terms of this Release and Settlement
Agreement are completely read, wholly understood and voluntarily accepted for the purpose of
making a full and final compromise, adjustment and settlement of any and all claims brought by

Plaintiff in this action against Defendants.

    
    
 

 

 

* Sila) a of
NSON, DOC #126696
Plaintiff
KATHY GASTREICH DATE
Risk Manager

Department of Corrections

 

 

JOHN C. DITTMAN, WSBA #32094 DATE
Assistant Attorney General
Attorney for Defendants
RELEASE AND SETTLEMENT 3 ATTORNEY GENERAL OF WASHINGTON
C tions Division
AGREEMENT 1116 West Riverside Avene Suite 100

NO, 3:16-cv-05738-BHS-KLS Spokane. WA 99201-1106
(509) 456-3123

 
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EXHIBIT - 2
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Robert —. Johneon, #126696
Coyote Ridge Correction Genter
P.O. Box 769-TB-13~4

Connell, WA 99326

duly Dy 20719

John 6. Dittman

Assistance Attorney General

4116 West Riverside Ave., Suite 100
Spokane, WA 992th -1106

RE: Johnsen v. Morgan, et a@l.,
Base No, 3:716-0v-05758-BHS-TLP

Dear Me, Dittman:

T made you a reasonable settlement affer in August e018, whieh you
rejected. The August 2018 offer was priac to the Magistrate's report and
recommendation denying defendant Mawes's summary judgment, [ just
completed reading your objections for the first time yesterday. I am
therefore, making you another offer of $20,000 before the judge adopts
the report and recommendation.

Me, Dittman, I don't know whether you or one of your assistants prepared
the objections to the report and recommendation, In any event, I would
suggest you read it, and then consider the presented facta ar Lack
thereo?, DOC excessive force policy 410.200, Model Civil Jury
Inetructions, Oth fir. 9,2 (2018), coupled with Mewes's actions and
statements he made thet the prisoners were not fighting at tha time he
aprayed me in the face with pepper spray, Also Boot's declaration, my
grievance, testimony, declaration, and ORCC's reports, The bystancder's
theory is not an issue in this case. Judges read facts, they don't
create them.

Before you consider rejecting my offer, T would recommenc you read the
Magistrate's report and recammencation Dt, No. 149, op. 10, lines 12-
22, As the Magistrate observes: "defendant avoids the issue before ‘the
Court ah summary jucdgmarnt-", at 13-18,

Me. Dittman, Loam a diabetic, ancl when my blend sugar is too high, 1
misinterpret what I read ancl miss the point in my analyaia.
Nevertheless, I cidn’t finc anywhere you objected to the Magistratals
disputed facta, case lew, analysis or conclusion. &in Lo wrong? To dan't
believe you objected ta any point in the Magistrate's report anc
recommendation.

I thank you in advance for your kind treatment, tina anc consideration
of my reasonable offer. LT await for your response before tha Court's
Adoption.

 

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EXHIBIT - 3
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

ROBERT EARLE JOHNSON, NO. 0716-05738 BHS-TLF
Plaintiff,

DECLARATION OF ROBERT EARLE

JOHNSON IN SUPPORT OF

MOTION FOR BREACH SETTLEMENT

Ve AGREEMENT AND SANCTIONS

RICHARD MORGAN, et al.,
Sefendants.

 

 

I, Robert €, Johnson, being of seuned mind and aware of the
penalties of perjury, hereby declare that if I were called as a witness
I would testify ap follows:

1.1 Gm duly 18, 2019, the Assistant Attorney General John 0.
Dittman and I engaged in a negotiation to settle an excessive force
claim. Mr, Dittman wasn't happy with the Court's ruling.

1.2 Me. Dittman and I negotiated for more than 30 minutes. I explained
to him that T wanted to take my rase to trial. He told ma he was
prepared to gay me $10,000.00. When I agreed, he then said it was
package offer, that I could not apoesl my medical claims.

1.4 First, I rejected the idea af not pursuing my medical claim
because as IT explained to him thet "I'm in pein as we talk". Me. Dittman
advised me that T could etill pursue the my medical issues of everything
that happened after Dr. Hammond retriect.

1.5 While T was considering the offer, he called CROC's Banking to
find out how much filing fee I would have to pay out of the $19,000.00.
He said that IT would have to pay filing of $976.25. I agreed but I
didn't know he was including my currant cage which I hed just prevailed,

1.6 Considering an opportunity to suppert two of my orandchildren
in their school shopping I accepted the $10,000.00 offer with the
stipulations that I would be paid within 30 daye of accepting the
sattlanent agraement. I counselor witnessed the egreement.

1.7 If f hed any idea that Mr. Dittman wasn't going to honor our
agreement ta pay me within 30 daye I would not have entered into the
agreement, and IT would not have told my 11 year ald granddaughter and 14
year old grandson that I was going ta send them money for their school
supplies and school clothes.

I declare under penalty of perjury the forgoing ie true and
correct.

EXECUTED this O9™ way of faust g

   
   
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- EXHIBIT -4 —

_ EXHIBIT - 4

 
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Robert £. Johnson, #126696
Coyote Ridge Correction Center
P.O. Box 769

Connell, WA 99426

duly 29, 2019

John &, Dittman, Asst, Atty. Gen.
1116 West Riverside Ave,, Suite 100
Spokane, WA 99201-1106

RE: Case No. Johnson v. Morgan et al, 3:16-cv-05738-BHS-TLF

 

Dear Mr, Dittman:

T an writing this letter regarding my filing fee dabta. IT am the
prevailing party uncer Case Ne. 0C16-05736-BHS, which is $345.77. DOC is
resnonsible to pay this filing fee. Please notify GROG's Banking not to
deduce any money under Case No, 016-05738-BHS from the $10,900, coming
to my trust account, or do T have to obtain this filing fee debt
verified from Washingtan District Court by motions?

If I don't hear anything from you regarding the filing fee obligation of
the non-prevailing party anc CROO Banking daecluce 60% rather than 40% F
Will contact the Court. I prevailed summary jucdyment, therefore my
filing fee debt is $620.48 rather than $976.25, Please let CROC's
Banking know what my filing fees are.

Mr, Dittman, my next question, will the $10,200, be in account before
August Oth? This is important.

Please take care of yourself, I thank you in advance for your
cooperation in making this matter right.

Very truly yours, ,

  

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CERTIFICATE OF SERVICE
Notice of Electronic Filing:

On the date below, I caused the electronically filed PLAINTIFF'S
MOTION FOR JUDICIAL RELIEF FOR BREACH OF SETTLEMENT AGREEMENT AND
GANCTIONS with the Clerk of the United Stetes Dietrict Court for the
liastern District of Washington, at Tacoma using the CM/ECF system and T
hereby certify that I have used the CM/ECF for the Court to serve the
following Defendants! Counsel:

John C. Dittman: Johnd2@atg wa. gov

Plaintiff Robert Earle Johnson: docerecinmatefederal@DDC1 .WA.GOV

Case Name: Johnaon v. Morgan et al.
Case Number: 3:16-cv-05738-BHS-TLF
{ declare under penalty of perjury anc under the laws of the United

 

Stetas of America that the foregoing is true and correct.
EXECUTED this AG day of Auguet 2019, at Gannett, WA

 

Coyote Ridge correction Center
13501 N, Ephrata Ave.

P.O. Box 749

Connell, WA 99526

 
